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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,

       -against-                                               05-CR-101


CARLOS SANTIAGO, JR.,

                                Defendant
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                          ORDER

       Defendant CARLOS SANTIAGO, JR. moves the Court to “correct the factual

inaccuracies” contained in his Presentence Investigative Report (“PSI”). See dkt. # 247.

Defendant contends that his PSI incorrectly noted that a prior state court conviction was

for Kidnapping when the offense of conviction was for Attempted Burglary in the 3rd

Degree. Id. Defendant further contends that the inaccuracy is “having an adverse affect”

on the Bureau of Prison’s assessment of his “custody level.” Id.

       As noted in the U.S. Probation Office’s response to Defendant’s motion, the PSI

correctly reflected that the state court offense of conviction was for Attempted Burglary in

the 3rd Degree. See dkt. # 248; PSI ¶ 36. The PSI did reflect, in a narrative portion of

paragraph 36, that Plaintiff had been arrested and charged with Kidnapping based on

conduct that occurred on February 10, 2001 (the date from which the Attempted Burglary

in the 3rd Degree charge arises). PSI ¶ 36. This representation was not inaccurate. See

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dkt. # 248 (citing state court records). Furthermore, the Probation Office points out that “in

the presentence interview, the defendant acknowledged the arrest and offered his

recollection of his [limited] degree of participation in the [Kidnapping] offense, which was

parenthetically included in the narrative entry” of paragraph 36 of the PSI. Dkt. # 248; see

PSI ¶ 36.

       The Court finds no inaccuracy in the PSI, and, therefore, Defendant’s motion to

correct his PSI [dkt. # 247] is DENIED.



IT IS SO ORDERED

DATED:September 12, 2007




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